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13                                  UNITED STATES DISTRICT COURT

14                                 NORTHERN DISTRICT OF CALIFORNIA

15                                           SAN FRANCISCO

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17   PANGEA LEGAL SERVICES, et al.,                     Case No. 3:20-cv-7721-SI
18                   Plaintiffs,                        PLAINTIFFS’ REPLY IN SUPPORT OF
                                                        MOTION FOR A TEMPORARY
19          v.                                          RESTRAINING ORDER
20   U.S. DEPARTMENT OF HOMELAND                        Assigned to Hon. Susan Illston
     SECURITY et al.,
21                                                      Date:          November 18, 2020
                     Defendants.                        Time:          2:00 pm
22                                                      Courtroom:     1, 17th Floor (via Zoom)
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 1   I.     INTRODUCTION

 2          Defendants’ opposition confirms the Rule’s invalidity. Ignoring the Ninth Circuit’s holding

 3   that “regulations imposing additional limitations and conditions under § 1158(b)(2)(C) must be con-

 4   sistent with the core principle” of the statutory eligibility bars, E. Bay Sanctuary Covenant v. Barr,

 5   964 F.3d 832, 848 (9th Cir. 2020) (“EBSC III” ), Defendants see no limiting principle at all in the

 6   statute. They believe they are free to ignore the specific boundaries Congress drew, for example, by

 7   overriding the carve-outs Congress wrote into the aggravated-felony statute. See Mot. 9. They also

 8   feel free to bar eligibility based on sweeping categories of mostly minor offenses—or suspected con-

 9   duct—that does not “serve as a useful proxy,” E. Bay Sanctuary Covenant v. Trump, 950 F.3d 1242,

10   1276 (9th Cir. 2020) (“EBSC II” ), for identifying people “who pose a threat to society,” EBSC III, 964

11   F.3d at 846. Indeed, Defendants do not try to argue that categorically barring asylum-seekers for, e.g.,

12   minor drug-possession convictions (see Mot. 8) is “consistent with” Congress’s statutory approach.

13   Instead, they double down on the Rule’s assertion that they can categorically exclude anyone who

14   supposedly shows “a disregard for the societal values of the United States.” Opp. 1, 2, 10, 15, 16. But

15   the statute says no such thing. And Defendants’ view clashes with the international obligations codi-

16   fied in the INA and the Ninth Circuit’s directive to construe § 1158(b) “with lenience toward mi-

17   grants.” EBSC II, 950 F.3d at 1275. Defendants’ opposition simply fails to grapple with the Ninth

18   Circuit’s binding construction of 8 U.S.C. § 1158(b)(2)(C). The Rule’s interpretation of the INA is

19   therefore impermissible, and some of the categorical bars also violate due process, all in violation of

20   the APA.

21          The Rule is also arbitrary and capricious, both because it fails to acknowledge and justify its

22   startling departure from decades of agency precedent, and because it fails to support its assertions and

23   conclusions with logic or evidence. Defendants’ opposition fails to rebut these flaws. And the Rule is

24   procedurally invalid for several reasons.

25          The Court should therefore enjoin the entire Rule nationwide. The Ninth Circuit has held na-

26   tionwide injunctions proper in APA cases where the plaintiffs can show that it is necessary to provide

27   complete relief. That is the case here. Plaintiffs work with asylum-seekers across the country. Indeed,

28   this case is materially indistinguishable from multiple others where the Ninth Circuit affirmed such

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 1   relief. And while Defendants urge the Court to leave some part of the Rule intact, there is no basis to

 2   do so: The entire Rule is invalid, both substantively and procedurally. The motion should be granted.

 3   II.     ARGUMENT

 4           A.     Plaintiffs are likely to succeed on the merits.
 5                  1.      The rule conflicts with the INA.
 6                          a.      Defendants lack the authority to adopt categorical bars that are not
                                    “consistent with” the statutory framework.
 7
             Plaintiffs showed that “Congress went out of its way” to limit the scope of Defendants’ author-
 8
     ity under 8 U.S.C. § 1158(b)(2)(C). EBSC III, 964 F.3d at 849. Their contrary arguments lack merit.
 9
     To start, Defendants’ heavy reliance on their discretion to ultimately grant or deny individual asylum
10
     claims (e.g., Opp. 7) confuses the issues. “Discretion to deny asylum to eligible [noncitizens] . . . is
11
     different from discretion to prescribe criteria for asylum eligibility . . . . [T]he discretion to prescribe
12
     criteria for eligibility is constrained by § 1158(b)(2)(C).” EBSC III, 964 F.3d at 849. Indeed, the Ninth
13
     Circuit emphasized “the importance Congress attached to the constraints on the Attorney General’s
14
     discretion to prescribe criteria for asylum eligibility.” Id. Section 1158(b)(2)(C)’s delegation of au-
15
     thority is thus “constrained” to rules that follow the “core principle” of the statutory eligibility bars.
16
     See id. at 848–49.
17
             Defendants’ repeated references to “the societal values of the United States” or “American
18
     ideals of the rule of law,” Opp. 1, 2, 10, 15, 16, thus confirm the Rule’s invalidity. A core statutory
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     principle, which in turn reflects our international commitments, is to protect “the safety of those al-
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     ready in the United States,” EBSC II, 950 F.3d at 1275, by excluding those “who pose a threat to
21
     society,” EBSC III, 964 F.3d at 846. For that reason, Defendants are wrong to claim that they can
22
     categorically exclude people without regard to the “level of crime” or “level of seriousness” of their
23
     conduct. Opp. 9. As the Ninth Circuit has held, Congress focused on “very grave punishable act[s].”
24
     Alphonsus v. Holder, 705 F.3d 1031, 1038 (9th Cir. 2013) (quoting Matter of Frentescu, 18 I. & N.
25
     Dec. 244, 246 (BIA 1982)), abrogated on other grounds, Guerrero v. Whitaker, 908 F.3d 541, 544
26
     (9th Cir. 2018). While Defendants suggest that our “international obligations” are irrelevant because
27
     withholding of removal, not asylum, implements the United States’ “non-refoulement obligations,”
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 1   Opp. 9 n.2, that misses the point: Congress drew the statutory asylum bars in part from the Refugee

 2   Convention, so the Convention informs Congress’s intent. See Mot. 3 (explaining that the Refugee

 3   Act conforms U.S. law to the Convention); id. at 6–7 (explaining the provisions Congress incorpo-

 4   rated).

 5             Defendants also make much of the statutory eligibility bar for aggravated felonies, 8 U.S.C.

 6   § 1158(b)(2)(B)(i), by cherry-picking a few seemingly less serious aggravated felonies and relying on

 7   them to deride Plaintiffs’ assertion that bars to asylum eligibility are typically limited to grave offenses

 8   like “blowing up a passenger plane” or “wanton killing in a public place.” Opp. 9–10. But they ignore

 9   that those examples come straight from the Ninth Circuit’s opinion in Alphonsus, 705 F.3d at 1037

10   n.6. They also neglect that Alphonsus addressed the aggravated felony bar and still concluded that the

11   statutory bars create high thresholds of danger and seriousness. Id. at 1047–49. In any event, all ag-

12   gravated felonies require a conviction, while some of the Rule’s bars do not. And even the least serious

13   aggravated-felony conviction is still different in kind from simple drug possession, unlawfully export-

14   ing fish, driving with a suspended license, making a prank phone call, graffiti with a supposed gang

15   link, or simply being suspected of domestic violence—all of which could categorically bar asylum

16   eligibility under the Rule. See Mot. 7–8. Indeed, Defendants simply ignore the motion’s many exam-

17   ples of the minor, non-dangerous offenses the Rule covers, see id. at 7–12, which show that its sweep-

18   ing and unprecedented categorical bars are not consistent with the INA.

19             Nor can Defendants justify their choice to exclude asylum-seekers based on convictions Con-

20   gress specifically carved out in the aggravated-felony definition—for example, a “harboring” convic-

21   tion for assisting one’s own child, Mot. 9. A basic principle of statutory interpretation, which applies

22   fully at Chevron step one, requires courts and agencies to “give effect to Congress’ express inclusions

23   and exclusions, not disregard them.” Nat’l Ass’n of Mfrs. v. Dep’t of Def., 138 S. Ct. 617, 631 (2018);

24   Brown v. Gardner, 513 U.S. 115, 120 (1994). When Congress says that a particular conviction bars

25   asylum eligibility only in certain circumstances, Defendants are not free to say otherwise—especially

26   when their departure from the statutory regime clashes with the core statutory principle.

27             Likewise, Defendants’ contention that the Rule “does not bar eligibility based on manner of

28   entry,” because it requires “a criminal conviction” for illegal reentry, Opp. 11, is mistaken. This bar

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 1   flouts the Ninth Circuit’s holding that denying eligibility “because of [the] method of entry” is “in-

 2   consistent with the INA,” see EBSC II, 950 F.3d at 1261, 1276, and the underlying treaty obligations

 3   incorporated into the INA. See E. Bay Sanctuary Covenant v. Trump, 932 F.3d 742, 772–74 (9th Cir.

 4   2018) (“EBSC I” ); 8 U.S.C. § 1158(a)(1) (“Any alien who is physically present in the United States

 5   or who arrives in the United States (whether or not at a designated port of arrival . . . ) . . . may apply

 6   for asylum. . . .”). Defendants also try to turn this point around by arguing that “Congress itself rejected

 7   the view that a manner-of-entry bar can never be imposed.” Opp. 11. But the fact that Congress can

 8   do something by statute does not mean an agency can do it by regulation, and in any event the Rule

 9   obliterates the careful distinction Congress wrote into the statute. Mot. 9.

10           Defendants’ contention that the Rule can appropriately bar eligibility based on unadjudicated

11   conduct is equally contrary to the INA. They say convictions are not a necessary predicate to additional

12   eligibility bars because “five of the six statutory eligibility bars have no conviction requirement.” Opp.

13   12. But only two of the bars relate to criminal conduct in the United States, and—consistent with basic

14   due process principles—both require a conviction. See 8 U.S.C. § 1158(b)(2)(B)(i); 8 U.S.C.

15   § 1158(b)(2)(A)(ii). The Rule’s categorical bars are not consistent with the “core principle” underlying

16   the statutory bars in Section 1158(b). The Rule is contrary to law.

17                           b.      Defendants lack authority to adopt a presumption that creates severe
                                     due process and federalism concerns without a clear statement from
18                                   Congress.
19           Defendants say the Rule’s novel presumption that certain vacated or modified convictions re-

20   main valid—even if vacated or modified for substantive or constitutional defects—“simply applies”

21   the principle that “where [a noncitizen] has a conviction that would bar asylum eligibility,” that person

22   bears “the burden of proving . . . that such grounds do not apply.” Opp. 12. That misses the point. A

23   conviction vacated for substantive or constitutional reasons is not a conviction at all, and so should

24   not trigger any consequences. See Johnson v. Mississippi, 486 U.S. 578, 585 (1985) (noting that after

25   a “conviction has been reversed, unless and until [the defendant] should be retried, he must be pre-

26   sumed innocent of that charge”); Nath v. Gonzales, 467 F.3d 1185, 1187–89 (9th Cir. 2006) (“[A]

27   conviction vacated because of a procedural or substantive defect is not considered a conviction for

28   immigration purposes”). Rather than recognize the implications of this “axiomatic and elementary”

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 1   principle, Coffin v. United States, 156 U.S. 432, 453 (1895), Defendants have promulgated a Rule

 2   that—as they freely admit, see Opp. 12—requires an asylum-seeker whose conviction has been

 3   “erased” to bear a burden, as though it were still valid. Further still, the Rule grants asylum adjudica-

 4   tors the ability to impose consequences based on a nonexistent conviction if the adjudicator, after an

 5   unbounded inquiry to determine the “purposes” for which a conviction was vacated or modified, dis-

 6   agrees with the state court’s express basis for the ruling. 85 Fed. Reg. at 67259–60. In other words,

 7   the Rule impermissibly authorizes a presumption of guilt where a conviction’s erasure demands a

 8   presumption of innocence. There is no evidence that Congress has “spoken very clearly” to authorize

 9   that startling result. See Alim v. Gonzales, 446 F.3d 1239, 1249 (11th Cir. 2006).

10           Defendants also miss Plaintiffs’ point about federalism. None of the authorities they cite—the

11   INA’s definition of “conviction” or Reyes v. Lynch, 834 F.3d 1104, 1107 & n.15 (9th Cir. 2016)—

12   suggests that the INA authorizes the agency to presume that a state court’s constitutional ruling is

13   without effect. That the Rule “operates in a fundamentally federal forum” does not somehow avoid

14   any federalism implications. Opp. 13. To presume that a state court’s exercise of its traditional power

15   over the definition and prosecution of crimes is voided the instant it reaches federal hands is undoubt-

16   edly an “administrative interpretation [that] alters the federal-state framework by permitting federal

17   encroachment upon a traditional state power.” Solid Waste Agency of N. Cook. Cnty. v. U.S. Army

18   Corps of Eng’rs, 531 U.S. 159, 172–73 (2001). Again, there is no “clear indication” that Congress

19   intended this result. Id.

20                   2.      Some of the Rule’s categorical bars are unconstitutionally vague.
21           Defendants say Plaintiffs cannot raise a due-process vagueness argument because vagueness

22   challenges must be adjudicated “as applied” to the person bringing the challenge. Opp. 13. But that

23   principle does not apply here. The APA requires a reviewing court to “hold unlawful and set aside”

24   agency action that is “contrary to constitutional right.” 5 U.S.C. § 706(2)(B). And a party with standing

25   to challenge agency action may “raise … any relevant question of law” that affects its validity. FCC

26   v. Sanders Bros. Radio Station, 309 U.S. 470, 477 (1940); see, e.g., All. for Nat. Health U.S. v. Sebe-

27   lius, 775 F. Supp. 2d 114, 130 (D.D.C. 2011) (addressing a vagueness challenge in a pre-enforcement

28   APA action). Defendants rely on inapposite authority; in Kashem v. Barr, the Ninth Circuit specifically

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 1   “treat[ed] vagueness as an independent challenge under the Due Process Clause” and not as an APA

 2   claim. 941 F.3d 358, 370 n.5 (9th Cir. 2019).

 3          Defendants also say that asylum-seekers lack a due process interest in asylum eligibility be-

 4   cause the decision to grant or deny asylum is discretionary. Again, asylum eligibility is not discretion-

 5   ary, and asylum-seekers have a statutory right to apply for it. 8 U.S.C. § 1158(a)(1); see also Opp. 3.

 6   The Due Process Clause protects that right. See, e.g., Andriasian v. INS, 180 F.3d 1033, 1041 (9th Cir.

 7   1999) (“Failing to notify individuals who are subject to deportation that they have the right to apply

 8   for asylum . . . violates both INS regulations and the constitutional right to due process.”); Haitian

 9   Refugee Ctr. v. Smith, 676 F.2d 1023, 1038 (5th Cir. 1982) (“Congress and the executive have created,

10   at a minimum, a constitutionally protected right to petition our government for political asylum.”).

11   The eligibility criteria must thus provide the applicant “fair notice of what the law demands.” United

12   States v. Davis, 139 S. Ct. 2319, 2325 (2019).

13          Defendants also fail to meaningfully engage with the merits of Plaintiffs’ arguments. Defend-

14   ants briefly respond that the “reason to believe” standard in the street-gang bar is permissible because

15   it is “clearly understood as equivalent” to probable cause. Opp. 14. But Plaintiffs’ argument—which

16   Defendants ignore— is that the street-gang bar is impermissibly vague because it combines the mal-

17   leable “reason to believe” standard with the indeterminate “committed in support, promotion, or fur-

18   therance of” language in the Rule. 85 Fed. Reg. at 67258–59. Defendants do not address the undefined

19   phrase “in support, promotion, or furtherance,” which appears nowhere else in federal law. See Mot.

20   15–16. Defendants’ only other response is that the two bars “satisfy any vagueness concerns” simply

21   because they “require a fact-based inquiry based on all reliable evidence.” Opp. 14. But the problem

22   is the lack of clear standards the relevant facts will be measured against. See Kolender v. Lawson, 461

23   U.S. 352, 358 (1983).

24                  3.       The Rule is arbitrary and capricious.
25                           a.     The Rule does not articulate a satisfactory explanation for its depar-
                                    ture from decades of agency and court precedent.
26
            The Rule’s unexplained departure from agency and court precedent makes it arbitrary and ca-
27
     pricious. To start, the Rule’s effect is not to weed out applicants “who may pose a danger to the ‘safety
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 1   of those already in the United States.’” Opp. 7. That is because, even without the Rule, dangerous

 2   crimes may support a discretionary denial of asylum. E.g., Bare v. Barr, 975 F.3d 952, 961 (9th Cir.

 3   2020). Rather, the effect of the Rule is to eliminate immigration judges’ and the BIA’s discretion to

 4   grant asylum where the refugee does not present a meaningful risk or danger. Even if the INA allowed

 5   it, this elimination of discretion in favor of a categorical, single-factor bar represents a monumental

 6   departure from the decades-old policy articulated in Matter of Pula and echoed in many BIA and court

 7   opinions over the past three decades, which hold that “the danger of persecution should generally

 8   outweigh all but the most egregious of adverse factors.” E.g., Pula, 19 I. & N. Dec. 467, 474 (BIA

 9   1987).

10             Thus, eliminating the “totality of the circumstances review” in favor of categorical bars that

11   “deny relief in virtually all cases,” id. at 473, is not supported by general assertions about certain

12   categories of crimes. Rather, the change in policy must be supported by a rationale for requiring denial

13   of asylum even where the Immigration Judge or BIA finds that the refugee does not represent a danger,

14   including a justification for rejecting the agency’s prior, contrary approach. But neither the Rule nor

15   Defendants’ brief tries to explain this departure. Indeed, Defendants do not even acknowledge it. The

16   Rule thus violates the principle that an agency must “display awareness that it is changing position”

17   and explain why its prior reasoning no longer holds. FCC v. Fox Tel. Stations, Inc., 556 U.S. 502, 515

18   (2009).

19             Likewise, the policy explained in Pula reflected a series of factual findings, including “the

20   unusually harsh consequences which may befall [a noncitizen] who has established a well-founded

21   fear of persecution,” that each applicant’s circumstances may reflect differently on his or her fitness

22   for the exercise of discretion, and that some refugees who meet their burden of proving persecution

23   could be barred from asylum by discretionary factors and be unable to meet the higher burden for

24   withholding of removal. See Pula, 19 I. & N. Dec. at 474. But the Rule does not include “a reasoned

25   explanation . . . for disregarding facts and circumstances that underlay or were engendered by the prior

26   policy.” Fox, 556 U.S. at 516.

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 1                          b.      The Rule fails to meaningfully address important comments and data.

 2          Defendants assert that “the Departments addressed 576 comments.” Opp. 17. Where Defend-

 3   ants declined to address certain comments, they say, they “explained their reasons for doing so.” Id.

 4   at 17–18. But Defendants disposed of countless substantive comments with conclusory assertions that

 5   failed to address their substance. The motion set forth—and Defendants failed to meaningfully ad-

 6   dress—many examples where Defendants simply asserted without basis that the comment was “out-

 7   side the scope” of the rulemaking or “reiterate[d] their statutory authority to limit and condition asylum

 8   eligibility.” Mot. 18. Some additional examples: Commenters submitted well-reasoned, evidence-

 9   based comments asserting that the gang-related crime provision is “overly broad and alarmingly

10   vague.” 85 Fed. Reg. at 67223. They referenced the proven inaccuracy of gang member databases, the

11   recognized effect that such inaccuracies have on racial minorities, and the due process rights that are

12   likely to be violated as a result. Commenters pointed to other aspects of the Rule that are legitimately

13   questionable, including the presumed seriousness of trivial crimes and the disparate effect on econom-

14   ically distressed neighborhoods. In response, the Departments never addressed these concerns but

15   simply reiterated that they believe all gang-related crime is dangerous and that, in any event, the De-

16   partments have the authority to enact regulations. See 85 Fed. Reg. at 67224–26.

17          Similarly, in response to concerns about the overbreadth of the DUI provisions, the final Rule

18   simply declines to tailor the bar to serious misconduct, and notes that eliminating immigration judges’

19   discretion is “well within the Departments’ authority.” 85 Fed. Reg. at 67227. It offers a similar ra-

20   tionale in response to comments suggesting that the domestic violence provision will harm victims of

21   domestic violence, responding, among other things, that “the Departments are also authorized to es-

22   tablish additional limitations or conditions on asylum.” Id. at 67231. Similar responses recur through-

23   out the final Rule. But authority to enact regulations does not constitute the required “sufficient expla-

24   nation for its action including a rational connection between the facts found and the choice made.”

25   Immigrant Leg. Res. Ctr. v. Wolf, Case No. 20-cv-05883-JSW, 2020 WL 5798269, at *12 (N.D. Cal.

26   Sept. 29, 2020) (“ILRC”). In rejecting these comments and instead resting on their authority to make

27   rules, Defendants failed to “disclose the thinking that has animated the form of [the] proposed rule and

28   the data upon which that rule is based,” “failed to consider [] important aspect[s] of the problem,” and

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 1   “offered [] explanation[s] for [their] decision[s] that run[] counter to the evidence” and are “so im-

 2   plausible that [they] could not be ascribed to a difference in view or the product of agency expertise.”

 3   Id.

 4                  4.      The Rule is procedurally invalid.
 5                          a.     The Rule was adopted without sufficient chance for public comment.
 6           Defendants argue that they have unfettered discretion to determine notice and comment periods

 7   and may disregard Executive Orders 12866 and 13563, which state that “a meaningful opportunity to

 8   comment” is generally 60 days. Opp. 20–21. But the cases they cite simply show that sufficient notice

 9   can be accomplished in multiple ways—none of which were used here. See Riverbend Farms, Inc. v.

10   Madigan, 958 F.2d 1479 (9th Cir. 1992) (agency published notices and conducted regular public com-

11   ment meetings); Phillips Petroleum Co. v. EPA, 803 F.2d 545 (10th Cir. 1986) (proposed change was

12   contemplated publicly, with notice to affected parties, for several years before an NPRM was issued

13   allowing an addition 30 days to comment). In contrast, the proposed Rule, with no prior notice to

14   stakeholders, suddenly and drastically upended decades of settled law and practice and gave interested

15   parties just 30 days to comment, spanning the year-end holidays.

16           Defendants also misunderstand the prejudice inquiry, arguing that “no prejudice can be shown”

17   because some Plaintiffs were able to comment. Opp. 21. But the Ninth Circuit strictly enforces the

18   APA’s notice-and-comment requirements. An “agency could always claim that it would have adopted

19   the same rule even if it had complied with APA procedures”; thus, to “avoid gutting the APA’s pro-

20   cedural requirements . . . failure to provide notice and comment is harmless only where the agency’s

21   mistake ‘clearly had no bearing on the procedure used or the substance of decision reached.’” Cal.

22   Wilderness Coal. v. Dep’t of Energy, 631 F.3d 1072, 1090 (9th Cir. 2011) (emphasis added). The

23   “procedure used” here was a too-short comment period that prevented commenters from gathering

24   more data or marshaling different legal arguments, and that plainly prevented many others from com-

25   menting at all. See Mot. 21 (noting thousands more comments on asylum rule with 60-day window).

26   Defendants also misunderstand Plaintiffs’ claim. Plaintiffs do not complain that they were unable to

27   comment on separate NPRMs. Nor do Plaintiffs seek a “‘premature’ advisory opinion” about separate

28   rulemakings. Plaintiffs’ claim is about this Rule.

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 1          By dividing notice of how the Rule affects asylum-seekers into separate rulemakings, Defend-

 2   ants withheld crucial information about the how the Rule would be applied and prevented a full con-

 3   sideration of its impact on asylum-seekers. Although Defendants could have considered the interaction

 4   of the Rule with these other NPRMs, they apparently chose not to. The administrative record does not

 5   include them, although it includes another NPRM, released on August 26, 2020, that introduced limi-

 6   tations on administrative appellate and immigration court procedures. AR 00307. Defendants thus did

 7   not consider the impact on asylum-seekers and the overall regulatory scheme of incorporation of the

 8   Rule into collateral contexts, and Plaintiffs were prevented from advising them, because of their failure

 9   to provide sufficient notice of the proposed changes.

10                          b.      The Rule does not properly analyze its impacts on federalism.
11          Defendants claim the executive order requiring a federalism certification provides no private

12   right of action. Opp. 21. But again, these are APA claims, and the APA requires a reviewing court to

13   set aside agency action “found to be . . . without observance of procedure required by law.” 5 U.S.C.

14   § 706(2)(D). Plaintiffs do not need a separate cause of action. That fact distinguishes Valentine Prop-

15   erties Assocs., LP v. HUD, 785 F. Supp. 2d 357, 367 (S.D.N.Y. 2011) (cited at Opp. 22). Nor can

16   Defendants show that they complied with the federalism-certification requirement. The Rule raises

17   significant federalism concerns by presuming asylum ineligibility based on state convictions that have

18   been vacated, expunged, or modified. 85 Fed. Reg. at 67259–60. It thus attaches significant conse-

19   quences to state criminal dispositions that a state court has held unconstitutional or substantively de-

20   fective. And states have good reasons to vacate or modify convictions. For example, such actions

21   facilitate reintegration, which improves the state’s tax base, diminishes the strain on public benefits,

22   and prevents prison overcrowding. The Rule’s cursory pronouncement that it “does not have sufficient

23   federalism implications to warrant the preparation of a federalism summary impact statement,” 85

24   Fed. Reg. at 67257, is therefore inaccurate, making the Rule procedurally deficient under the APA.

25                          c.      The Rule does not comply with the Regulatory Flexibility Act.
26          The Rule entirely failed to analyze its impact on Plaintiffs and other immigration service pro-

27   vider “small entities.” Mot. 23. In response, Defendants say “Plaintiffs lack a cause of action to enforce

28   the RFA” because they “are not ‘small entities’ that . . . have an injury contemplated within the zone

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 1   of interest of the RFA.” Opp. 22. Not so. Again, this is an APA claim under 5 U.S.C. § 706(2)(D).

 2   And the RFA provides that “a small entity that is adversely affected or aggrieved by final agency

 3   action is entitled to judicial review of agency compliance with [its] requirements.” 5 U.S.C. §

 4   611(a)(1). Contrary to Defendants’ claim, a small entity need not be directly regulated to fall within

 5   this class. Indeed, the Ninth Circuit has “assumed that indirectly affected small entities [have] standing

 6   to challenge an agency decision under the RFA.” US Citrus Sci. Council v. United States Dep’t of

 7   Agric., 312 F. Supp. 3d 884, 912 (E.D. Cal. 2018) (citing Ranchers Cattlemen Action Legal Fund

 8   United Stockgrowers of Am. v. Dep’t of Agric., 415 F.3d 1078, 1101 (9th Cir. 2005)); see EBSC II,

 9   950 F.3d at 1270 (holding immigration service providers within the “zone of interest” of APA claim).

10   And Defendants’ claim that they made a “reasonable, good-faith effort” to comply with the RFA, Opp.

11   22, has no merit. They made no effort at all to assess the Rule’s impact on small entities like Plaintiffs.

12   Cf. Am. Fed’n of Labor v. Chertoff, 552 F. Supp. 2d 999, 1013 (N.D. Cal. 2007) (finding “serious

13   questions whether DHS violated the RFA by refusing to conduct a final flexibility analysis”).

14           B.      Circuit precedent forecloses Defendants’ irreparable harm arguments.
15           Plaintiffs’ unrebutted evidence of irreparable harm aligns with the proof the Ninth Circuit held

16   sufficient in EBSC II, 950 F.3d at 1280; see Mot. 24. Defendants effectively concede as much, though

17   they assert that they “disagree” with EBSC II. Opp. 23 n.7. Regardless, the Ninth Circuit’s decision

18   controls here. Defendants also try to confuse the issue by arguing that “considerations of irreparable

19   harm . . . favor the government,” and contending that alleged harm to “non-party aliens” is the harm

20   asserted by Plaintiffs themselves. Opp. 23. These arguments miss the mark. Plaintiffs articulated or-

21   ganizational harm on top of harm suffered by the populations they serve. Mot. 24. They also explained

22   how harm to the populations they serve will frustrate their missions and impair their ability to meet

23   their organizational objectives. Id. Plaintiffs also explained how harm to non-parties is part of the

24   public interest analysis, id. at 25, but that is a distinct inquiry.

25           C.      The equities and public interest factors tip sharply in Plaintiffs’ favor.
26           A wide range of “[r]elevant equitable factors” tip in Plaintiffs’ favor, “includ[ing] the value of

27   complying with the APA, the public interest in preventing the deaths and wrongful removal of asylum-

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 1   seekers, preserving congressional intent, and promoting the efficient administration of our immigra-

 2   tion laws.” EBSC II, 950 F.3d at 1280; Mot. 25. Most importantly, “the public has an interest in ‘en-

 3   suring that we do not deliver [refugees] into the hands of their persecutors,’ and ‘preventing [refugees]

 4   from being wrongfully removed, particularly to countries where they are likely to face substantial

 5   harm.’” Id. at 1281 (citations omitted); see EBSC III, 964 F.3d at 854.

 6          Defendants’ main response contradicts Ninth Circuit precedent. They argue that the Rule does

 7   not “return people to persecution” because “aliens remain eligible for mandatory protections from

 8   removal, including withholding of removal and [Convention Against Torture] protection.” Opp. 23.

 9   But neither withholding of removal nor protections under the Convention Against Torture (“CAT”)

10   substitute for access to asylum. EBSC II, 950 F.3d at 1274. Many asylum-seekers “may be eligible

11   only for asylum and cannot establish the more stringent criteria for withholding-of-removal.” Id. “The

12   Rule, then, risks the removal of individuals with meritorious asylum claims who cannot [obtain] with-

13   holding of removal or CAT relief. By doing so, it is inconsistent with our treaty commitment to non-

14   refoulement.” Id. at 1277. And “[t]he INA’s withholding-of-removal . . . and [CAT] protections . . .

15   are not as great as those conferred by the INA’s asylum provisions.” Id. Unlike those who obtain

16   withholding of removal, asylees have unique pathways for reuniting with their families and obtaining

17   citizenship, as many commenters explained.1

18          Defendants also argue that the Rule serves the public interest by preventing “dangerous crim-

19   inal aliens” from obtaining asylum. Opp. 23. But as already explained, the Rule is vastly overinclusive,

20   and reaches countless people who pose no danger to anyone. In any event, the INA already bars anyone

21   convicted of a particularly serious crime, and (as Defendants note, see, e.g., Opp. 3, 6) adjudicators

22   already enjoy discretion to deny asylum on dangerousness grounds. Thus, enjoining the Rule will not

23   require Defendants to grant asylum to even a single person, dangerous or not. By contrast, Defendants

24   identify no mechanism for mitigating the threat to public safety arising from the Rule itself. See Igra

25
     1
       Igra Reply Decl. Ex. A at AR 10979–83 (describing differences between asylum, withholding of
26   removal, and CAT protections); Id. Ex. B at AR 09490–92 (protections afforded by withholding of
     removal and CAT are limited in scope and harder to obtain than asylum); Id. Ex. C at AR 08962-63
27   (same); Id. Ex. D at AR 10560–61 (same); Id. Ex. E at AR 10573–74 (same); Id. Ex. F at AR 10593–
     94 (same); Id. Ex. G at AR 08837 (describing impact on families of citizen children due to inferior
28   protections of withholding of removal).

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 1   Reply Decl. Ex. H at AR 10549–50 (also filed at ECF 21-10).

 2          Finally, Defendants suggest that Plaintiffs cannot “invoke third-party harms” to show that the

 3   equities tip in their favor. Opp. 23. That is wrong. When the government is a party, the equitable and

 4   public-interest inquiries merge, Nken v. Holder, 556 U.S. 418, 435 (2009), and the “public interest

 5   inquiry primarily addresses the impact on non-parties,” Preminger v. Principi, 422 F.3d 815, 826 (9th

 6   Cir. 2005) (brackets omitted) (emphasis added). Defendants rely on the Ninth Circuit’s discussion of

 7   “third-party standing” in EBSC I, 932 F.3d at 764, which is irrelevant. Opp. 23. Finally, “maintaining

 8   the status quo” serves the important public interest in “a stable immigration system.” Doe v. Trump,

 9   957 F.3d 1050, 1068 (9th Cir. 2020).

10          D.      The Court should enjoin the entire Rule nationwide.
11          A nationwide injunction that applies to the entire Rule is appropriate. “An injunction may ex-

12   tend ‘benefit or protection’ to nonparties ‘if such breadth is necessary to give prevailing parties the

13   relief to which they are entitled.’” EBSC I, 932 F.3d at 779 (citation omitted). Here, Plaintiffs have

14   shown how the harm to populations they serve across the country will impact them. Mot. 24–25.

15   Moreover, “[t]he provisions of the INA that are affected by [this Rule] represent the current ‘national

16   immigration policy, and an injunction that applies that policy to some individuals while rescinding it

17   as to others is inimical to the principle of uniformity’” the INA was meant to establish. Doe, 957 F.3d

18   at 1070 (citation omitted) (denying the government’s motion to stay a nationwide preliminary injunc-

19   tion). And in an APA case, success on the merits—which Plaintiffs have shown is likely—typically

20   means “that the rules are vacated—not that their application to the individual [plaintiffs] is pro-

21   scribed.” EBSC II, 950 F.3d at 1283; see EBSC III, 964 F.3d at 856–57 (“Vacatur of an agency rule

22   prevents its application to all those who would otherwise be subject to its operation”).

23          Defendants’ responses lack merit. First, they say “any injunction cannot extend to aliens whose

24   asylum eligibility must be adjudicated first in immigration court and then in the courts of appeal[s].”

25   Opp. 24 (citing 8 U.S.C. § 1252(a)(5), (b)(9)). EBSC II forecloses that argument. There, the Ninth

26   Circuit addressed the same provisions Defendants cite here, which “govern judicial review of removal

27   orders or challenges inextricably linked with actions taken to remove migrants from the country.”

28   EBSC II, 950 F.3d at 1269. It held these “jurisdiction-stripping provisions . . . were not intended to

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 1   apply at all to challenges to asylum eligibility rules,” and thus affirmed a nationwide injunction that

 2   included individuals in removal proceedings. Id. at 1269, 1284.2

 3           Second, Defendants cite distinguishable cases to urge a narrow injunction. For example, they

 4   cite Judge White’s decision in Nat’l Ass’n of Mfrs. v. Dep’t of Homeland Sec., No. 20-cv-04887-JSW,

 5   2020 WL 5847503 (N.D. Cal. Oct. 1, 2020) (“NAM”), to argue that preliminary relief should be limited

 6   to an organization or its members. Opp. 25. But there, “Plaintiffs [sought] to enjoin application of the

 7   Proclamation against their members” only; they did “not seek . . . a ‘nationwide’ injunction.” NAM at

 8   *15. By contrast, just two days earlier, Judge White enjoined an entire rule in an APA case brought

 9   by a coalition of non-profit organizations. See ILRC, 2020 WL 5798269, at *20. In that case, Judge

10   White considered the government’s request to narrow the injunction, but explained that an injunction

11   “need not . . . ‘affect only the parties in the suit.’” Id. at *19 (citation omitted). Because the plaintiffs

12   had submitted declarations showing the breadth of their operations, and had also shown that the rule

13   was likely invalid, the Judge concluded that enjoining the entire rule was warranted. Id. So too here.

14   When the evidence reflects harm to non-profit organizations that “do not operate in a fashion that

15   permits neat geographic boundaries” for an injunction, a universal injunction is necessary to provide

16   the parties with “[c]omplete relief.” EBSC III, 964 F.3d at 856.3 Thus, Plaintiffs do not argue that

17   “universal relief follows automatically in an APA case,” contra Opp. 25; they argue that such relief is

18   justified here.

19           The Ninth Circuit has confirmed that non-profit organizations that “represent ‘asylum seekers’

20   broadly” may properly seek a universal injunction in an APA case where even just “[o]ne fewer asy-

21   lum client” causes “a frustration of purpose.” EBSC II, 950 F.3d at 1282–83. Because that is true here,

22   and because Plaintiffs collectively operate across the entire country, the Court should enjoin the Rule

23   nationwide.

24   2
       Defendants cite J.E.F.M. v. Lynch, 837 F.3d 1026 (9th Cir. 2016) (Opp. 24), but that case is no longer
25   good law. See Gonzales v. ICE, 975 F.3d 788, 810 (9th Cir. 2020).
     3
       The other cases to which Defendants cite are similarly inapposite. For example, California v. Azar
26   involved plaintiff states that had not developed the record as to harms beyond their borders. 911 F.3d
     558, 584 (9th Cir. 2018); see Opp. 25. And in both E. Bay Sanctuary Covenant v. Barr, 934 F.3d 1026,
27   1029 (9th Cir. 2019), and City & Cnty. of San Francisco v. Trump, 897 F.3d 1225, 1244 (9th Cir.
     2018), the Court found only that the record and district court’s findings did not establish harm beyond
28   the plaintiffs.

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 1            Finally, Defendants say “any TRO must be narrowly tailored to portions of the Rule, if any,

 2   actually ruled unlawful,” asserting that “Plaintiffs fault only parts of the Rule.” Opp. 24. But they

 3   cannot identify a single aspect of the Rule that remains unchallenged. All of the Rule’s new categorical

 4   bars are contrary to law, and some are unconstitutional; the vacatur presumption of validity is contrary

 5   to law; the entire Rule reflects a dramatic and unexplained shift in agency policy; and commenters

 6   were not given enough time to comment on any aspect of the Rule. Indeed, all of the procedural defects

 7   apply to the whole Rule. The Court should thus enjoin the entire Rule.

 8   III.     CONCLUSION

 9            For these reasons, the Court should enjoin or stay the Rule’s effectiveness.

10                                                         Respectfully submitted,

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